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1422-CC09419

IN THE CIRCUIT COURT OF THE CITY OF ST. LOUIS

KATHRYN LOVE,
Plaintiff,

Vv.

PAUL PIATCHEK,

Serve at: 1200 Clark Avenue
St. Louis, MO 63103

AND

MATHEW KARNOWSKI,

Serve at: 1200 Clark Avenue
St. Louis, MO 63103

AND

MARCUS BUSH,

Serve at: 1200 Clark Avenue
St. Louis, MO 63103

AND

ORLANDO MORRISON,

Serve at: 1200 Clark Avenue
St. Louis, MO 63103

AND

RICHARD WOODERSON,

Serve at: 1200 Clark Avenue
St. Louis, MO 63103

AND

ROBERT SIMONS,

Serve at: 1200 Clark Avenue
St. Louis, MO 63103

AND

STATE OF MISSOURI

Cause No:

Division:

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JURY DEMAND

Intentional Tort/Wrongful Death

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KELLY FISHER,
Serve at: 1200 Clark Avenue
St. Louis, MO 63103

AND

DREW WERNINGER,
Serve at: 1200 Clark Avenue
St. Louis, MO 63103

AND

BRIAN DAVENPORT,
Serve at: 1200 Clark Avenue
St. Louis, MO 63103

AND

HARRY COLLINS,
Serve at: 1200 Clark Avenue
St, Louis, MO 63103

AND

THOMAS WALSH,
Serve at: 1200 Clark Avenue
St. Louis, MO 63103

AND

EDWARD CLARK,
Serve at: 1200 Clark Avenue
St. Louis, MO 63103

AND

POLICE CHIEF DAN ISOM,
Serve at: 1200 Clark Avenue
St. Louis, MO 63103

AND

THE BOARD OF POLICE
COMMISSIONERS, PRESIDENT
TODD H. EPSTEN, VICE PRESIDENT
BETTYE BATTLE-TURNER,

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TREASURER VINCENT J.
BOMMARITO, MEMBER JULIUS K.
HUNTER, EX-OFFICIO MEMBER
FRANCIS G. SLAY, SECRETARY TO
THE BOARD DAVID R, HEATH,
Individually,
Serve at: 1200 Clark Avenue

St. Louis, MO 63103

Defendants.

 

PETFEION FOR WRONGFUL DEATH
COMES NOW Kathryn Love, the biological mother of Darrell H. Williams, the
deceased, to offer the following petition under Mo. Rev. Stat. 537.080 and Mo. Rev. Stat.
§37.090, to wit:
GENERAL ALLEGATIONS — APPLICABLE TO ALL COUNTS

1. Darryl H. Williams [hereinafter referred to as “Mr, Williams”] died on November 18,
2009.

2. Kathryn Love is the plaintiff and biological mother of Mr. Williams.

3. Hereinafter, the Board of Police Commissioners, individually and collectively, shali be
referred to as the “Board of Police”,

4, Hereinafter, “police officers” shall mean the officers and detectives named individually
and collectively as defendants.

5. Hereinafter, “Piatchek” shall mean defendant Paul Piatchek, individually, unless
otherwise noted.

6. Hereinafter, “Karnowski” shal! mean defendant Mathew Karnowski, individually, unless

otherwise noted.

7, On or about November 18, 2009, defendants Piatchek and Karnowski shot and killed Mr.

Williams.

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8. Defendants Piatchek and Karnowski shot and killed Mr. Williams in the course and scope
of their employment as officers or detectives for defendant Isom and the Board of Police.

9. Atall relevant times, defendants Piatchek and Karnowski were operating under the
direction, management and authority of the Board of Police, and, more specifically, Defendant
Chief Dan Isom,

10. The actions of the police officers named as defendants herein coalesced with the acts of
defendants Piatchek and Karnowski to cause Mr. Williams death.
11. Immediately prior to his death:

a. Mr. Williams was driving a vehicle which defendants Piatchek, Karnowski and the
other named police officers believed to be stolen;

b. Mr. Williams was driving the vehicle; four passengers were in the vehicle; and they
were on their way to a convenience store;

c. Defendants Piatchek, Karnowski and the other named police officers were traveling
in unmarked, covert vehicles, without lights or sirens;

d. Defendants Piatchek, Karnowski and the other named police officers coalesced to
deploy spike strips near the intersection of Hamilton and Kennerly, to recover the
vehicle;

e. Mr. Williams drove over the spike strips and the front two tires deflated:

f. Mr. Williams turned south onto Wabada; the vehicle hit a utility pole; and the vehicle
flipped onto its side;

g. Defendants Piatchek, Karnowski and the other named police officers converged on
the vehicle;

h. Defendants Piatchek, Karnowski and the other named police officers surrounded the
vehicle with their guns drawn;

i. Defendants Piatchek, Karnowski and the other named police officers allege they

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saw a gun either in Mr, Williams’ hand or near Mr. Williams’ hand;

J. Defendants Piatchek, Karnowski and the other named police officers shouted verbal
commands to give Mr. Williams verbal direction as to what he should and/or should
not do;

k. Defendants Piatchek and Karnowski then shot Mr, Williams seven (7) times, which
resulted in Mr. Williams’ immediate death.

COUNT I- VIOLATION OF FOURTH AMENDMENT — DEADLY FORCE

[2. Plaintiff restates and reiterates the General Allegations and paragraphs | through

1] as if fully set forth herein,

13. Defendants’ Piatchek, Karnowski and the other police officers named herein, deployed

spike strips to deflate the tires on the vehicle driven by Mr. Williams,

14, Defendants’ Piatchek, Karnowski and the other police officers named herein, sought to

recover the vehicle because it was believed to be stolen.

15. Mr. Williams continued to drive and flee the scene with deflated tires.

16. Defendants’ Piatchek, Karnowski and the other police officers named herein, were

driving unmarked, covert vehicles, without sirens.

17. Defendants’ Piatchek, Karnowski and the other police officers named herein,

chased Mr, Williams and escalated a deadly confrontation,

18, Defendants’ Piatchek, Karnowski and the other police officers named herein, had no

reasons to pursue and kill Mr. Williams because he was not believed to be a dangerous felon.

!9, Defendants’ Piatchek, Karnowski and the other police officers named herein, had
non-lethal means to apprehend Mr. Williams, but failed to use them.

20, Defendants’ Piatchek, Karnowski and the other police officers named herein, should have
disengaged because Mr. Williams had not posed a threat of death or serious bodily harm to
themselves or others.

21, Car theft is a serious crime, but not so serious as to justify the use of deadly force,

22. Moreover, defendants Piatchek, Karnowski and the other police officers named herein,

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did not know whether Mr. Williams stole the vehicle or whether Mr. Williams even knew the
vehicle was stolen,

23. Asa matter of constitutional law, Mr. Williams was innocent until proven guilty.

24, Even if Mr, Williams had been convicted of car theft or any other crime related to this
vehicle, he would not have been sentenced to death.

25. Defendants Piatchek, Karnowski and the other police officers named herein, by and
through defendants Isom and the Board of Police, seized Mr. Williams’ life and violated his
rights under the Fourth Amendment of the Constitution of the United States of America.

26. As a direct result of this intentional tort, by defendants Piatchek and Karnowski, as
described herein, Mr. Williams lost his life and Plaintiff lost her son, his love, society,
companionship, consortium, emotional and economic support.

WHEREFORE, Plaintiff Kathryn Love prays for judgment against the defendants in an
amount that is fair and reasonable, in excess of $25,000; and an award of punitive damages in
such sum as to serve as punishment and deter defendants and others from like conduct,

COUNT II - INTENTIONAL TORT — PIATCHEK AND KARNOWSKI

27, Plaintiff restates and reiterates the General Allegations and paragraphs one through
twenty-six as if fully set forth herein. |

28. Defendants Piatchek and Karnowski intentionally shot and killed Mr. Williams.

29. Asa direct result of this intentional tort, by defendants Piatchek and Karnowski, as
described herein, Mr. Williams lost his life and Plaintif€ lost her son, his love, society,
companionship, consortium, emotional and economic support.

WHEREFORE, Plaintiff Kathryn Love prays for judgment against the defendants in an
amount that is fair and reasonable, in excess of $25,000.00; and an award of punitive damages in
such sum as to serve as punishment and deter defendants and others from like conduct.

COUNT Til —- EXCESSIVE FORCE ~ PIATCHEK AND KARNOWSKI

30. Plaintiff restates and reiterates the General Allegations and paragraphs one through

twenty-nine as if fully set forth herein

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31. Defendants Piatchek and Karnowski abused their discretion in taking the life of Mr.

Williams.

32. Deadly force was unreasonable and unnecessary for the following reasons:

a.

b,

n,

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Defendants Piatchek and Karnowski were not in danger of death or bodily harm;
The police officers were not in danger of death or bodily harm;
There were no innocent bystanders in danger of death or bodily harm;

The police officers were capable of arresting Mr. Williams without the use of deadly
force;

There was no danger that Mr. Williams would escape because Mr. Williams was
trapped inside of a vehicle which was heavily damaged and resting on its side:

Mr, Williams was not a prison escapee;

Mr. Williams was not suspected of fleeing a crime wherein he inflicted or threatened
infliction of death or serious physical harm to another person;

Mr. Williams could have been apprehended with a non-lethal electrical field
discharge weapon (TASER), but defendants Piatchek and Karnowski failed to do so.
The police officers could have recovered the vehicle without deadly confrontation;
The vehicle was not a threat to the public;

The vehicle was not a threat to the police officers;

Mr. Williams was not a threat to the police officers;

. The other occupants of the vehicle were not a threat to anybody;

Mr. Williams was not wanted for a violent crime or serious felony;

Mr. Williams’ passengers were not wanted for a violent crime or serious felony.

33. Asa direct result of this intentional tort, by defendants Piatchek and Karnowski, as

described herein, Mr. Williams lost his life and Plaintiff lost her son, his love, society,

companionship, consortium, emotional and economic support

WHEREFORE, Plaintiff Kathryn Love prays for judgment against the defendants in an

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amount that is fair and reasonable, in excess of $25,000.00; and an award of punitive
damages in such sum as to serve as punishment and deter defendants and others from like
conduct.

COUNT IV — NEGLIGENCE —- DANGEROUS COMMANDS

34, Plaintiff restates and reiterates the General Allegations and paragraphs one throu gh
thirty-three as if fully set forth herein.

35. Defendants Piatchek, Karnowski and the other police officers named as defendants
herein, allege that Mr. Williams had a gun with him inside the car.

36, Defendants Piatchek, Karnowski and the other police officers named as defendants
herein, gave Mr. Williams verbal directions and commands as to what he should and should not
do.

37. Defendants Piatchek, Karnowski and the other police officers named as defendants
herein, had a duty to give Mr. Williams clear and consistent verbal directions and commands.
38. Defendants Piatchek, Karnowski and the other police officers named as defendants

herein, failed to give Mr. Williams clear and consistent verbal directions and commands.

39, Defendants Piatchek, Karnowski and the other police officers named as defendants
herein, individually, collectively and simultaneously warned Mr. Williams:

a, “Don’t move”;

b. “Get out of the vehicle”;

c. “Let me see your hands” and/or “raise your hands”;

d. “Don’t touch that gun”:

e. “Drop the gun”; and

f. “Throw the gun out the car” and/or “throw the gun out of the window”.

40. Defendants Piatchek, Karnowski and the other police officers named as defendants
herein, gave Mr, Williams instructions which were so confusing and inconsistent that he

could not have followed them, to wit:

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a. If Mr. Williams tried to get out of the vehicle, one or more of the defendants may
have perceived that he was resisting their command not to move.;

b. IfMr. Williams didn’t move, one or more of the defendants may have perceived that
he was resisting their command to get out of the vehicle.

c. IfMr. Williams raised his hands or moved his hands, one or more of the defendants
may have perceived that he was resisting their command not to touch the gun;

d. IfMr. Williams tried to throw the gun out of the car, one or more of the defendants
may have perceived that he was resisting their command not to touch the gun and/or
drop the gun,

41, Defendants Piatchek, Karnowski and the other police officers named as defendants

herein, were careless and negligent in that they gave Mr. Williams verbal directions and

commands which coalesced with defendants’ other acts and omissions to cause Mr. Williams
death.

42. Asa direct result of this intentional tort, by defendants Piatchek and Karnowski, as
described herein, Mr. Williams lost his life and Plaintiff lost her son, his love, society,
companionship, consortium, emotional and economic support

WHEREFORE, Plaintiff Kathryn Love prays for judgment against the defendants in an
amount that is fair and reasonable, in excess of $25,000; and any other relief the Court deems
to be just and appropriate.

COUNT V — FAILURE TO TRAIN, IMPLEMENT AND SUPERVISE

43, Plaintiff restates and reiterates the General Allegations and paragraphs one through forty-
two as if fully set forth herein,

44. Defendants Isom and the Board of Police failed to provide Piatchek, Karnowski and the
other police officers name as defendants herein, with appropriate training to maintain social
control without deadly confrontation; to articulate clear and consistent verbal commands and

directions; or educate them as to the use of appropriate weaponless control techniques.

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45. Asa direct and proximate result of the failures and omissions of defendant Isom and the
Board of Police, Piatchek and Karnowski and the other police officers named as defendants
herein, caused confusion, created chaos, incited panic and escalated the recovery of an allegedly
stolen vehicle to a deadly confrontation.

46. The failures and omissions of defendants Isom and the Board of Police coalesced with the
actions of defendants Piatchek, Karnowski and the other police officers named as defendants
herein, to cause Mr. Williams’ death.

47. Asa direct result, Mr. Williams lost his life and Plaintiff lost her son, his love, society,
companionship, consortium, emotional and economic support.

WHEREFORE, Plaintiff Kathryn Love prays for judgment against the defendants in an
amount that is fair and reasonable, in excess of $25,000.00: and any other relief the Court deems

to be just and appropriate.

MCCHESNEY & ORTWERTH, L.L.C.

‘s! Brian S. McChesney
Brian 8S. McChesney #40545

bimechesney@gatewayinjurylaw.com

Craig M. Ortwerth #47880
cortwerth@gatewayinjurylaw.com
1922 Chouteau Avenue

St. Louis, Missouri 63102

(314) 584-4500

(314) 584-4500 facsimile
Attorney for Plaintiff

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